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                                              May 2, 2022

 Via Electronic Filing
 The Honorable Mary Pat Thynge
 United States District Court
   for the District of Delaware
 J. Caleb Boggs Federal Building
 844 N. King Street
 Wilmington, DE 19801

          Re:     CCAR Investments, Inc. v. Barra et al.,
                  C.A. No. 20-957-LPS

 Dear Chief Magistrate Judge Thynge:

        We write on behalf of Plaintiff CCAR Investments, Inc. The parties have stipulated to
 dismiss this action without prejudice in favor of the action based on the same underlying facts
 pending in the Delaware Court of Chancery, captioned Lebanon County Employees’ Retirement
 Fund v. Collis, C.A. No. 2021-1118-JTL (Del. Ch.). The Stipulation and [Proposed] Order
 Voluntarily Dismissing Action and Providing for Notice is filed herewith.

         In light of this, the parties respectfully ask for the Court’s Order dated April 20, 2022
 setting a scheduling teleconference and directing the parties to submit a joint proposed
 scheduling order (ECF No. 63) be vacated.

        The parties are available at the Court’s convenience should Your Honor have any
 questions.


                                                       Respectfully,

                                                       /s/ Stephen E. Jenkins

                                                       Stephen E. Jenkins (#2152)

 cc:      All Counsel of Record (via email)




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